Case 6:20-cv-00243-WWB-GJK Document 1 Filed 02/13/20 Page 1 of 5 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
JOHN FINCH,
Plaintiff,
vs. CASE NO.:
DIWA, LLC, d/b/a AMERICA’S BEST
VALUE INN AND SUITES, a Florida
Limited Liability Company, and
BHARAT PATEL, Individually,
Defendants. /
COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff, John Finch, by and through the undersigned attorney, sues the
Defendants, DIWA, LLC, d/b/a America’s Best Value Inn and Suites, a Florida
Limited Liability Company, and Bharat Patel, Individually, and alleges:
1, Plaintiff, John Finch, was an employee of Defendants and brings this
action for unpaid overtime compensation, liquidated damages, and all other applicable

relief under the Fair Labor Standards Act, as amended, 29 U.S.C. § 216(b) (“FLSA”).

General Allegations

2. Plaintiff, John Finch was an employee who worked at Defendants’
property within the last three years in Brevard County, Florida.

3. Plaintiff, John Finch, worked for Defendants as an hourly paid employee
earning an hourly rate of $15.50 per hour.

4. Plaintiff, John Finch, worked as a Maintenance Man and Bar Manager
for Defendants.

5; At all times material to this cause of action, Plaintiff, John Finch, was a

non-exempt employee and therefore entitled to overtime wages for any and all
Case 6:20-cv-00243-WWB-GJK Document 1 Filed 02/13/20 Page 2 of 5 PagelD 2

overtime hours worked.

6. Defendant, DIWA, LLC, is a Florida for profit Corporation that operates
and conducts business in Brevard County, Florida and is therefore, within the
jurisdiction of this Court.

% According the Florida Division of Corporation, DIWA, LLC lists its
principal address as 250 Breckenridge Circle SE, Palm Bay, Florida 32909.! See
www.sunbiz.Org

8. Defendant, DIWA, LLC conducts business operations at 4431 West New
Haven Ave, Melbourne, Florida 32904.

9, Defendant, DIWA, LLC, operates as hotel offering free WiFi, an outdoor
pool, business center, an onsite ATM, meeting facilities, and other various other hotel
amenities to its guests.

10. At all times relevant to this action, Bharat Patel was an individual
resident of the State of Florida, who owned and operated DIWA, LLC, and who
regularly exercised the authority to: (a) hire and fire employees of DIWA, LLC; (b)
determine the work schedules for the employees of DIWA, LLC, and (c) control the
finances and operations of DIWA, LLC. By virtue of having regularly exercised that
authority on behalf of DIWA, LLC, Bharat Patel is/was an employer as defined by 29
U.S.C. § 201, et seq.

11. This action is brought under the FLSA to recover from Defendants
overtime compensation, liquidated damages, and reasonable attorneys’ fees and costs.

12. This Court has jurisdiction over Plaintiffs claims pursuant to 28 U.S.C.

§1331 and the FLSA.

13. During Plaintiffs employment with Defendants, Defendant, DIWA, LLC,

 

' DIWA, LLC’s principal address appears to be a residential address when viewed using Google Maps.
Case 6:20-cv-00243-WWB-GJK Document 1 Filed 02/13/20 Page 3 of 5 PagelD 3

earned more than $500,000.00 per year in gross sales.

14. Defendant, DIWA, LLC, employed approximately ten (10) employees and
paid these employees plus earned a profit from their business.

15. During Plaintiffs employment, Defendant, DIWA, LLC, employed at
least two employees who handled goods, materials and supplies which travelled in
interstate commerce such as sheets and bedding, soaps/shampoos, premium television
channels, televisions, hairdryers, ironing boards, irons, cleaning supplies, and other
tools/materials used to run the business.

16. Therefore, at all material times relevant to this action, Defendant,
DIWA, LLC, was an enterprise covered by the FLSA, and as defined by 29 U.S.C.
§203(r) and 203(s).

17. Additionally, Plaintiff, John Finch, is individually covered under the
FLSA.

FLSA Violations

18. At all times relevant to this action, Defendants failed to comply with the
FLSA because Plaintiff performed services for Defendant for which no provisions were
made by Defendant to properly pay Plaintiff for all overtime hours worked.

19. During his employment with Defendant, Plaintiff was not paid time and
one-half his regular rate of pay for all hours worked in excess of forty (40) per work
week during one or more work weeks.

20. Specifically, Plaintiffs official paycheck would never exceed forty (40)
hours per week, or eighty (80) hours per two week pay period.

21. Any hours worked in excess of forty (40) were paid in cash.

22. Overtime hours paid in cash were paid at a rate lower than Plaintiffs

$15.50 hourly rate.
Case 6:20-cv-00243-WWB-GJK Document 1 Filed 02/13/20 Page 4 of 5 PagelD 4

23. Plaintiff is entitled to the full time and one-half his regular rate of pay
for all hours worked in excess of forty (40) per week. $15.50 x 1.5 = $23.25 per
Overtime Hour.

24. Based upon these above policies, Defendants have violated the FLSA by
failing to pay complete overtime pay.

25. The undersigned counsel has made efforts to resolve this matter without
litigation but has been unsuccessful. Specifically, the undersigned counsel sent
certified correspondence to Defendants seeking pay and time records and inviting
dialogue to resolve the matter. Said correspondence went ignored.

26. Upon information and belief, the records, to the extent any exist,
concerning the number of hours worked and amounts paid to Plaintiff are in the
possession and custody of Defendants.

COUNT I - RECOVERY OF OVERTIME COMPENSATION

27. Plaintiff reincorporates and readopts all allegations contained within
Paragraphs 1-26 above as though stated fully herein.

28. Plaintiff is/was entitled to be paid time and one-half his regular rate of

pay for each hour worked in excess of forty (40) per work week.

29. During his employment with Defendants, Plaintiff worked overtime
hours but was not paid time and one-half compensation for same.

30. Instead, Plaintiff was paid a reduced rate in cash for overtime hours
worked.

31. Specifically, Defendants would not compensate Plaintiff any more than
forty (40) hours on his paycheck and pay any remaining wages in cash.

32. Defendants have failed provide accurate overtime compensation for

numerous pay periods.
Case 6:20-cv-00243-WWB-GJK Document1 Filed 02/13/20 Page 5 of 5 PagelD 5
33. Defendants did not have a good faith basis for their decision not to pay
Plaintiff full overtime compensation.
34. In addition, Defendants failed to post the required informational listings
for the Plaintiff and other employees pursuant to the FLSA.

35. As a result of Defendants’ intentional, willful and unlawful acts in

refusing to pay Plaintiff time and one-half his regular rate of pay for each hour worked
in excess of forty (40) per work week in one or more work week, Plaintiff has suffered

damages plus incurring reasonable attorneys’ fees and costs.

36. As a result of Defendants’ willful violation of the FLSA, Plaintiff is

entitled to liquidated damages.

37. Plaintiff demands a trial by jury.

WHEREFORE, Plaintiff, John Finch demands judgment against Defendants
for unpaid overtime compensation, liquidated damages, reasonable attorneys’ fees and
costs incurred in this action, declaratory relief, and any and all further relief that this

Court determines to be just and appropriate.

Dated this to day of February, 2020.

/
i
O47

Matthew R. Gunter, Esq.
FBN 0077459
Morgan & Morgan, P.A.
20 N. Orange Ave., 16th Floor
P.O. Box 4979
Orlando, FL 32802-4979
Telephone: (407) 420-1414
Facsimile: (407) 867-4791
Email‘mgunter@forthepeople.com
Attorneys for Plaintiff
